       Case 3:24-cv-00090-SFR               Document 86   Filed 12/23/24     Page 1 of 3




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


JANEL GRANT,
                               Plaintiff,
                         v.
WORLD WRESTLING ENTERTAINMENT, INC.                       Civil Action No.: 3:24-cv-00090
n/k/a WORLD WRESTLING ENTERTAINMENT,                      (JAM)
LLC; VINCENT K. MCMAHON, and JOHN
LAURINAITIS,
                               Defendants.




            DEFENDANT WORLD WRESTLING ENTERTAINMENT, LLC’S
                    MOTION TO COMPEL ARBITRATION

               Defendant World Wrestling Entertainment, LLC (“WWE”) respectfully moves this

Court for an order compelling arbitration of this matter pursuant to the Federal Arbitration Act,

9 U.S.C. §§ 3, 4, for the reasons set forth more fully in the accompanying Memorandum of Law

and Statement of Undisputed Material Facts. WWE filed its original Motion to Compel Arbitration

on May 14, 2024. ECF No. 61. On June 11, 2024, the Court entered an order staying this action

until December 11, 2024, and, in doing so, denied all pending motions to compel arbitration

“without prejudice to renewal within two weeks of any future order of the Court lifting the stay.”

ECF No. 68. The stay expired on December 11, 2024, and accordingly, WWE hereby files a

renewed and updated Motion to Compel Arbitration, with supporting memorandum of law and

statement of facts. WWE respectfully requests that the Court schedule oral argument for this

motion, and such other and further relief as the Court may deem just and proper.




ORAL ARGUMENT REQUESTED
      Case 3:24-cv-00090-SFR   Document 86     Filed 12/23/24    Page 2 of 3




Dated: December 23, 2024          Respectfully submitted,

                                  By: /s/ Daniel J. Toal

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                                      2
        Case 3:24-cv-00090-SFR           Document 86        Filed 12/23/24      Page 3 of 3




                                 CERTIFICATE OF SERVICE


               I certify that on December 23, 2024, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by email to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s CM/ECF system.



                                              /s/ Daniel J. Toal
                                              Daniel J. Toal




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